Case 2:15-ml-02668-PSG-SK Document 582 Filed 07/29/22 Page 1 of 4 Page ID #:9834



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  11                       UNITED STATES DISTRICT COURT
  12                     CENTRAL DISTRICT OF CALIFORNIA
  13
       IN RE: NATIONAL FOOTBALL               Case No. 2:15-ml-02668-PSG (JEMx)
  14   LEAGUE’S “SUNDAY TICKET”
       ANTITRUST LITIGATION                   NON-PARTY APPLE INC.’S
  15                                          STATEMENT REGARDING
       THIS DOCUMENT RELATES TO               PLAINTIFFS’ MOTION TO TAKE
  16   ALL ACTIONS                            LIMITED DISCOVERY AFTER
                                              THE DEADLINE FOR FACT
  17                                          DISCOVERY
  18                                          REDACTED VERSION OF
                                              DOCUMENT PROPOSED TO BE
  19                                          FILED UNDER SEAL
  20                                          Judge: Hon. Philip S. Gutierrez
                                              Date/Time: 8/19/22, 1:30 p.m.
  21                                          Discovery Cutoff Date: 8/5/2022
                                              Pretrial-Conference Date: 2/9/2024
  22                                          Trial Date: 2/22/2024
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Case 2:15-ml-02668-PSG-SK Document 582 Filed 07/29/22 Page 2 of 4 Page ID #:9835
Case 2:15-ml-02668-PSG-SK Document 582 Filed 07/29/22 Page 3 of 4 Page ID #:9836
Case 2:15-ml-02668-PSG-SK Document 582 Filed 07/29/22 Page 4 of 4 Page ID #:9837



   1   in consideration of Plaintiffs’ discovery deadlines, but Plaintiffs refused. (Id. at ¶ 5,
   2   Ex. B.) Instead, Plaintiffs filed their motion to compel in this district on May 31,
   3   2022, as if Rule 45 did not apply to them. (Dkt. No. 486.)
   4         That same day, Apple filed a motion to quash Plaintiffs’ subpoena in the
   5   Northern District to avoid waiver of its jurisdictional objection. (See N.D. Cal. Dkt.
   6   No. 1.) On June 7, 2022, Apple met and conferred with Plaintiffs regarding Apple’s
   7   request to expedite and seal any hearing on the motion to quash in the Northern
   8   District, but Plaintiffs were unwilling to stipulate to an expedited or sealed hearing.
   9   (Stevens Decl. at ¶ 6.) On June 9, 2022, Judge McDermott denied Plaintiffs’ motion
  10   to compel in this district, citing the authority conferred to the Northern District
  11   “plainly and unequivocally” by Rule 45(d)(1), Rule 45 (d)(2)(i) and Rule 45(f) and
  12   stating: “Plaintiffs will have to enforce their subpoena in the Northern District or
  13   demonstrate exceptional circumstances to that Court to obtain transfer back to this
  14   Court.” (Dkt. No. 499.) The hearing on Apple’s motion to quash is set for August
  15   25, 2022. (See N.D. Cal. Dkt. No. 24.)
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          Dated: July 29, 2022                  Respectfully submitted,
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  18                                            WALKER STEVENS CANNOM LLP
  19                                                   /s/ Bethany Stevens
                                                        Bethany Stevens
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                                                Attorneys for Non-Party Apple Inc.
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